                                       
                                       
                               COURT OF APPEALS
                            TENTH DISTRICT OF TEXAS
                                       
                                October 8, 2014
                              No. 10-15-00032-CR
                             DAMON LAVELLE ASBERRY
                                      v.
                              THE STATE OF TEXAS
                                       
                                       
                                       
                        From the 54[th] District Court
                            McLennan County, Texas
                         Trial Court No. 2007-1625-C2A
                                       
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JUDGMENT

	This Court has reviewed the briefs of the parties and the record in this proceeding as relevant to the issue raised and finds no reversible error is presented.  Accordingly the trial court's "Findings of Fact and Conclusions of Law" signed on January 15, 2015 are affirmed.
	A copy of this judgment will be certified by the Clerk of this Court and delivered to the trial court clerk for enforcement.
							PER CURIAM
						SHARRI ROESSLER, CLERK			

						By: ___________________________
							Nita Whitener, Deputy Clerk

